           Case 4:19-cv-03941 Document 11 Filed on 08/12/20 in TXSD Page 1 of 1



                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    RAQUEL SPINOSO and JUAN LUNA,                 §
                                                  §
         Plaintiffs,                              §

    v.                                            §    CIVIL ACTION H- 19-3941
                                                  §
    PHH MORTGAGE, et al.                          §
                                                  §
         Defendants.                              §

                                          FINAL JUDGMENT

            In accordance with the memorandum opinion and order issued by this court on July 17,

2020 (Dkt. 10), plaintiffs Raquel Spinoso and Juan Luna’s claims against defendants PHH

Mortgage Services and GMAC Mortgage LLC (collectively, “Defendants”) are hereby

DISMISSED WITH PREJUDICE.1 Judgment is ENTERED in favor of Defendants.

            This is a FINAL JUDGMENT.

            Signed at Houston, Texas on August 12, 2020.




                                               _________________________________
                                                          Gray H. Miller
                                                  Senior United States District Judge




1
 The court initially dismissed the plaintiffs’ claims without prejudice and gave them an opportunity
to amend. See Dkt. 10. It advised that if the plaintiffs failed to amend it the allotted time, it would
dismiss the claims with prejudice and enter final judgment in the defendants’ favor. See id.
